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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

The Right Reverend Charles G. vonRosenberg,    )
Individually and in his capacity as the former )            Civil Action No.: 2:13-cv-00587-RMG
Provisional Bishop of The Episcopal Church in  )
South Carolina and The Right Reverend Gladstone)
B. Adams, III, individually and in his capacity as
                                               )
the Provisional Bishop of The Episcopal Church )
in South Carolina,                             )                STIPULATION OF DISMISSAL
                                               )                AS TO DEFENDANT
                            Plaintiffs,        )                BERKELEY COUNTY
                                               )                STRAWBERRY CHAPEL
The Episcopal Church,                          )
                                               )
                    Plaintiff in Intervention, )
                                               )
v.                                             )
                                               )
The Right Reverand Mark J. Lawrence, et al.    )
                                               )
                            Defendants.        )
__________________________________________)

        WHEREAS, Plaintiffs, The Right Reverend Charles G. vonRosenberg and The Right

Reverend Gladstone B. Adams, III; Plaintiff-in-Intervention, The Episcopal Church; and

Defendant Berkeley County Strawberry Chapel (“Defendant Strawberry”), as the Settling

Parties, enter into this stipulation of dismissal as set forth below:

        NOW, THEREFORE, Plaintiffs and Defendant Strawberry, by and through their

undersigned counsel, hereby stipulate to the dismissal of Defendant Strawberry from this matter

with prejudice, pursuant to Rule 41(a), Federal Rules of Civil Procedure. The Plaintiff claims as

against the remaining Defendants are not affected by the terms of this Stipulation of Dismissal.




                                                                         (signature page to follow)

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I so move:


/s/ Stacey P. Canaday_____
Stacey P. Canaday
Attorney for Defendant Berkeley County Strawberry Chapel


I consent:


 /s/ Thomas S. Tisdale, Jr.____
Thomas S. Tisdale, Jr.
Attorney for Bishop vonRosenberg, Bishop Adams,
and The Episcopal Church in South Carolina




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